HUTCHINSON CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Hutchinson Co. v. CommissionerDocket No. 13308.United States Board of Tax Appeals14 B.T.A. 367; 1928 BTA LEXIS 2989; November 19, 1928, Promulgated 1928 BTA LEXIS 2989"&gt;*2989  The taxpayer filed a return for the fiscal year ending March 31, 1921, on June 15, 1921.  The Revenue Act of 1921 was approved on November 23, 1921, and thereafter the taxpayer filed another return for the above period, which because of the elimination of an exemption previously claimed but not allowed under the new Act, showed a larger tax due than was shown on the earlier return.  Held, that the four-year period of limitation did not start to operate from the filing of the first return.  Frederick L. Pearce, Esq., for the petitioner.  J. L. Backstrom, Esq., for the respondent.  MURDOCK 14 B.T.A. 367"&gt;*367  The Commissioner notified the petitioner of deficiencies in tax for the fiscal years ending March 31, 1921, and March 31, 1922, in the amounts of $3,016.64 and $453.49, respectively.  The petitioner instituted this proceeding contesting the correctness of these deficiencies and alleged numerous errors, all but two of which it later waived, so that we are now concerned only with the allegation that for the fiscal year 1921 the statute of limitation prevents further assessment, and that in the determination of the deficiency for this year the Commissioner1928 BTA LEXIS 2989"&gt;*2990  has failed to credit the petitioner with the payment of $50 on its total tax liability.  14 B.T.A. 367"&gt;*368  FINDINGS OF FACT.  The petitioner is incorporated under the laws of the State of Iowa, and has its principal place of business at Cedar Rapids.  On June 15, 1921, it filed a corporation income and profits-tax return on Form 1120 with the collector of internal revenue, Dubuque, Iowa, covering the fiscal year ending March 31, 1921, showing a net income of $45,447.43, invested capital of $132,955.29, and total tax due in the amount of $13,460.13.  This amount of tax was thereafter duly paid.  On May 15, 1922, it filed a corporation income and profits-tax return marked "Supplemental" on From 1120, with the collector of internal revenue, Dubuque, Iowa, covering the fiscal year ending March 31, 1921.  This return under "Schedule A - Taxable Net Income," shows the following entry only: "See Original.  No change in Income, $45,477.43," and under "Schedule B, Invested Capital," shows the following entry only: "See Original.  No Change.  Invested capital $132,955.29." Other schedules contain only such entry as "No change.  See original," except that under "Schedule C, Excess Profits Credit, 1928 BTA LEXIS 2989"&gt;*2991  " the same figures are shown as were shown on the return filed June 15, 1921, and under "Schedule D, Computation of Taxes," there is a computation disclosing a total tax of $13,510.13.  The $50 additional tax shown in the supplemental return was paid on May 23, 1922.  This additional tax resulted from the elimination of an exemption of $2,000.  In the deficiency notice credit was given for tax paid in the amount of $13,460.13 only.  The deficiency proposed in this proceeding for the fiscal year ending March 31, 1921, has not been assessed and the files of the Commissioner do not show that any waiver has been filed for that year.  The returns filed were not false or fraudulent with intent to evade tax.  No controversy affecting income and profits taxes for the fiscal year ended March 31, 1921, except that involved herein is pending against the petitioner and no suit or other proceeding for the collection of the deficiency except this proceeding has been begun against the petitioner.  OPINION.  MURDOCK: The petitioner invokes the bar of the statute of limitations to the determination and assessment of the deficiency for the fiscal year 1921.  Section 250(d) of the Revenue Act of 1921, 1928 BTA LEXIS 2989"&gt;*2992  insofar as it is applicable to the present case, provides as follows: The amount of income, excess-profits, or war-profits taxes due under any return made under this Act for the taxable year 1921 * * * shall be determined and assessed by the Commissioner within four years after the return was filed, * * *.  The question, then, is, Was the return filed June 15, 1921, such a return as would start the four-year period?  If so then our judgment 14 B.T.A. 367"&gt;*369  must be for the petitioner, if not then the Commissioner must be sustained.  The petitioner's fiscal year ended in the year 1921, and on the fifteenth day of the third month following the close of that fiscal year this return was filed.  Thereafter on November 23, 1921, the Revenue Act of 1921 was passed, which effected at least one change in this petitioner's tax liability in that under it the petitioner was not entitled to the $2,000 exemption during the three months of the fiscal period which were in the year 1921.  Thus under the 1921 Act at least $50 additional tax was due according to the petitioner's own calculation over that shown by the return filed June 15, 1921.  The petitioner recognized this fact, filed a new return1928 BTA LEXIS 2989"&gt;*2993  showing this very difference in its tax liability, and paid the additional tax.  Yet it claims that the four-year period of limitation started from the filing of the return of June 15, 1921.  The 1921 Act did not specifically provide that new returns should or should not be made under such circumstances.  The Commissioner has held that the question of whether or not a new return was required by the Revenue Act of 1921, and other Acts the passage of which gave rise to similar controversies, turned on whether or not under the new Act the taxpayer was subject to additional tax.  The courts and this Board have taken the same view of the question as has been taken by the Commissioner and have held that where additional tax is due the return filed before the passage of the Act will not start the period of limitations provided in the Act, but where no additional tax is due, the filing of a new return would be a useless formality and the first return will serve every purpose. , and the same case in the 1928 BTA LEXIS 2989"&gt;*2994 ; certiorari denied, . ; ; ; ; ; ; ; . Such a view is not unreasonable even in a case where the only change is the elimination of an exemption in the computation of the tax, because it places upon the taxpayer the responsibility of making a return showing what it honestly believes is its tax liability under the Act, which liability it then must meet by payments in due time.  This is the usual and orderly way in which all taxes under the Act are reported and paid.  See To hold that where additional tax is due as the result of the elimination of an exemption, the Commissioner must recompute the tax liability and assess and collect the tax at1928 BTA LEXIS 2989"&gt;*2995  his peril as he must do where he takes a different view of the tax liability 14 B.T.A. 367"&gt;*370  from that shown on the return, would be unusual, burdensome to him, unreasonable and a strained interpretation of the Act.  On this point we sustain the Commissioner.  Judgment will be entered under Rule 50.